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     1              IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OHIO
     2                          EASTERN DIVISION
     3    IN RE:    NATIONAL             :   MDL No. 2804
          PRESCRIPTION OPIATE            :
     4    LITIGATION                     :   Case No. 17-md-2804
                                         :
     5    APPLIES TO ALL CASES           :   Judge Dan Aaron Polster
                                         :
     6                                   :
     7
     8                       HIGHLY CONFIDENTIAL
     9          SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
   10
   11                                 - - - -
   12                           DECEMBER 13, 2018
   13                                 - - - -
   14       VIDEOTAPED DEPOSITION OF HBC SERVICE COMPANY'S
   15               DESIGNATED 30(B)(6) REPRESENTATIVE,
   16                            JAMES TSIPAKIS,
   17     taken pursuant to notice, was held at Marcus & Shapira,
   18     One Oxford Center, 35th Floor, Pittsburgh, Pennsylvania
   19     15219, by and before Ann Medis, Registered Professional
   20     Reporter and Notary Public in and for the Commonwealth
   21     of Pennsylvania, on Thursday, December 13, 2018,
   22     commencing at 9:09 a.m.
   23                                 - - - -
   24                    GOLKOW LITIGATION SERVICES
                   877.370.3377 phone | 917.591.5672 fax
   25                            deps@golkow.com

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     1    those policies describe the actions that should

     2    have taken place in response to each of these

     3    orders popping on this report?

     4           A.    I think they describe components of it

     5    or general expectations of it, but the exact

     6    pieces, I don't know that it would spell out the

     7    exact procedures.

     8           Q.    Is any -- I use the word investigation.

     9    Are these investigations into each of these line

   10     items, are they documented?

   11            A.    There is different forms of -- some are,

   12     yes.

   13            Q.    Are all of them documented?

   14            A.    I don't know if all of them are

   15     documented.

   16            Q.    Is there any policy or procedure that

   17     requires any Giant Eagle or HBC employee to issue

   18     any type of written report or memorandum or even

   19     just a note indicating, for example, the first one

   20     listed here, that they looked into this order of

   21     Oxydo from store 71 and then issued their

   22     determination that it is or is not something that

   23     needs to be looked at further?

   24            Is there any requirement that any type of

   25     report like that be generated?

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     1          A.     I haven't found anything that

     2    specifically calls out that something needs to be

     3    written down or documented or -- certainly there's

     4    an expectation to investigate every one.

     5          Q.     And I'm not asking you to point me to a

     6    piece of paper as we're sitting here right now

     7    today, but if I was to ask you can you justify why

     8    this order for store 71 of Oxydo, which is a CII,

     9    was shipped over threshold and that it wasn't

   10     clawed back or it wasn't reported to the DEA,

   11     would you have the ability to go and give me an

   12     answer to what was done to approve that?

   13           A.     Let me make sure I understand your

   14     question.     Can you repeat it one more time,

   15     please.

   16           Q.     Sure.    Essentially, what I'm trying to

   17     figure out is whether or not HBC or Giant Eagle

   18     maintains any type of due diligence files.

   19           For example, this order for store 71 for this

   20     controlled II substance pops on this report, if

   21     you wanted to go back now two years after the fact

   22     and see what did we do to justify and clear that

   23     order, is that possible?

   24           A.     I don't know.

   25           Q.     As you sit here today, is there any

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     1    requirement or procedure in place to do any

     2    maintaining or logging of any type of due

     3    diligence or investigatory type efforts to clear

     4    or justify orders that were received that may be

     5    over thresholds or may be otherwise indicative of

     6    diversion?

     7          A.     Yes.   Over time more systems were

     8    developed and abilities, yes.

     9          Q.     When did Giant Eagle or HBC put in place

   10     a system that required employees to log or

   11     maintain files that explained why particular

   12     orders were cleared or not cleared?

   13           A.     I can say from the diligence I had in

   14     early 2017, a system was developed where

   15     investigative notes and information could be

   16     entered regarding orders that we wanted to look

   17     at, orders of interest.

   18           Q.     Prior to early 2017, HBC nor Giant Eagle

   19     had any system that was dedicated to maintain

   20     notes, reports or memos that would explain or

   21     justify why particular orders were cleared or not

   22     cleared?

   23           A.     We didn't have a repository if that's

   24     what you're asking.        There were certainly

   25     definitive emails to the field, emails to the

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     1    warehouse, things of sorts that clearly show a

     2    diligence of trying to run the ground on why an

     3    order happened or what triggered, sure.

     4          Q.     Can you say that that's the case for

     5    every order that ever popped up on one of these

     6    reports?

     7          A.     I can say after reviewing and talking to

     8    associates involved and folks that do report to

     9    me, that every order that pops up of interest is

   10     investigated and either cleared or not.

   11           Q.     But you can't tell me as you sit here

   12     today whether or not there's any documentation to

   13     prove or disprove whether or not any or all of

   14     those investigations actually happened?

   15           A.     I can tell you that I don't know that I

   16     have specific for each line item on -- well, from

   17     2017 on, I can tell you we have a repository that

   18     was built.     Prior to that, I cannot.

   19           Q.     That's probably the easiest way to do

   20     this.    Prior to early 2017, Giant Eagle nor HBC

   21     had any repository or location, whether it's

   22     physical or digital, to maintain any type of due

   23     diligence reports or efforts; correct?

   24           A.     There was no central repository.

   25     Certainly if there was folders or emails or things

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     1    that were kept -- I've seen some of them, so

     2    definitely I know they exist.

     3          Q.     So fair to say that these orders that

     4    popped on these threshold reports that started

     5    coming out back in 2013 would lead Giant Eagle or

     6    HBC to start to do some type of due diligence; is

     7    that correct?

     8          A.     Yes.

     9          Q.     From 2009 until 2013, when HBC was

   10     distributing hydrocodone combination products,

   11     what would lead to HBC doing any type of due

   12     diligence on any of the orders that were received

   13     from the stores?

   14           A.     Certainly from as moved on, we improved

   15     the processes and continued to add capabilities.

   16     Your specific timeframe is what again, please?

   17           Q.     2009 until the threshold reports started

   18     being generated in 2013.

   19           A.     So in addition to other controls, one of

   20     the mechanisms we would use is the integrated

   21     approach I mentioned earlier to disclose

   22     suspicious orders to us, which would prompt

   23     investigation, similar diligence, no difference in

   24     diligence, and running to ground whether an order

   25     of interest was suspicious or not.

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     1          Q.     And that integrated approach would

     2    involve the superintendent of the warehouse, the

     3    pickers at the warehouse and the procurement folks

     4    from HBC's side; correct?

     5          A.     And the stores, yes.

     6          Q.     Store is not HBC, is it?

     7          A.     The store is not HBC, but it's all part

     8    of the same company, same system.            It's part of

     9    our system.

   10           Q.     But it's HBC who has the responsibility

   11     to design and operate a system that detects

   12     suspicious orders; correct?

   13           A.     Correct.

   14           Q.     Can you tell me between -- we can look

   15     at that report, and we can -- assuming that in

   16     October of 2016 Giant Eagle followed their

   17     policies in place, if we estimate that there's 200

   18     entries on that report, we could say that there

   19     were 200 separate investigations done, due

   20     diligence type investigations done in

   21     October 2016; would that be fair?

   22           A.     I can tell you just by looking at some

   23     of them and understanding the report better, we

   24     have stores that are filling 6000 prescription as

   25     week that are averaged against stores that are

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     1    doing 300 a week.       So obviously, if you're doing

     2    as a chain-wide average, you're going to have a

     3    ton of false positives, which is predominantly a

     4    lot of these orders on these reports.

     5          Q.     Well, isn't that a reason why having a

     6    chain-wide average isn't a very good idea?

     7          A.     Again, it's our attempt to have a system

     8    in place.     We're not just relying on a threshold.

     9    We're relying on a total system of the threshold

   10     being one of those controls.

   11           Q.     Well, if you're relying on a system that

   12     uses an average and you have some stores that do

   13     300 scripts a week and some stores that do 6000

   14     scripts a week, you would agree with me that

   15     average probably isn't very helpful?

   16           A.     I would agree with you it's probably

   17     flawed and it could be done better, which is why

   18     our second version of our threshold system was

   19     improved.

   20           Q.     How long did Giant Eagle and HBC utilize

   21     this flawed version of the threshold report that

   22     used a chain-wide average, from 2013 until when?

   23           A.     To be clear, I didn't say this report

   24     was flawed.     I said the methodology of averages

   25     could lead to a false positive, which is what a

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     1    lot of these reports -- lot of these orders on

     2    these reports are.

     3          Q.     How long did Giant Eagle and HBC use

     4    this report?

     5          A.     As I think was established earlier in

     6    testimony, this report started somewhere around

     7    2013.

     8          Q.     I'm sorry.     Until when?     Tell me if I'm

     9    wrong, but I think you said that you no longer use

    10    a chain-wide average and now use a store average.

    11          A.     Correct.

    12          Q.     As we sit here today in 2018.

    13          A.     Correct.

    14          Q.     When did you stop using the chain-wide

    15    average that you indicated is somewhat of a flawed

    16    methodology that can produce false positives?

    17          A.     It can produce false positives.          Till

    18    2017.    We changed, early 2017.

    19          Q.     So if we were to look at the life of

    20    HBC's and Giant Eagle's threshold program, from

    21    2009 to 2013, there was no threshold program.

    22    From 2013 to 2017, there was a threshold program

    23    based on a chain-wide average.          And from 2017

    24    through present, there's a threshold program

    25    that's based on individual stores' metrics setting

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     1    the threshold?

     2          A.     Correct.

     3          Q.     From 2009 to 2013, what would cause HBC

     4    to perform a due diligence investigation?             What

     5    about their system, what flags within the system

     6    would cause HBC to perform a due diligence

     7    investigation?

     8                 MR. BARNES:     Object to form.       Asked and

     9    answered.

    10          Go ahead.

    11                 THE WITNESS:     So as we established

    12    earlier, we know what products are coming into our

    13    warehouse, what products are going out to our

    14    stores.    Any pattern that would show -- our

    15    procurement team as well as the warehouse team, if

    16    they saw a spike in orders or a deviation of sorts

    17    from that, they would see that, and they would

    18    recognize that.

    19    BY MR. GADDY:

    20          Q.     From 2009 to 2013, are you able to

    21    identify for me any orders of hydrocodone

    22    combination products that due diligence was ever

    23    performed on?

    24          A.     I'm sorry.     Ask that once more, please.

    25          Q.     From 2009 until 2013, are you able to

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     1    identify for me any orders for hydrocodone

     2    combination products that due diligence was ever

     3    performed on?

     4           A.    I believe there is, but -- when you

     5    say -- so orders, obviously orders were placed

     6    from 2009 to 2013.       I can see emails,

     7    investigative emails going back and forth on

     8    questions on orders or product movement,

     9    et cetera.     So I did see that through my

    10    diligence.     I'm sorry.     I'm trying to understand

    11    your exact...

    12           Q.    I'm trying to determine whether or not

    13    from 2009 to 2013 you can identify for me any

    14    orders on which due diligence was performed by

    15    HBC.

    16           A.    I don't know.

    17           Q.    Is there a software vendor that HBC or

    18    Giant Eagle utilizes for these threshold reports?

    19           A.    No.

    20           Q.    It's all internal?

    21           A.    Yes.

    22           Q.    This threshold system that was utilized

    23    beginning in 2013, was it developed -- was it

    24    developed and designed specifically to monitor for

    25    suspicious orders of controlled substances?

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     1          A.     It was developed to continue to improve

     2    our suspicious order monitoring system, not to

     3    replace anything that was done previous.             It was

     4    basically just to continue to improve upon it

     5    using system-generated cues, et cetera.

     6          Q.     We can go back to the document if we

     7    need to, but I'm going back to the regulation, the

     8    1301.74(b), which is the regulation that requires

     9    the registrants to design and operate a system to

    10    disclose suspicious orders.

    11          Do you recall that regulation also obligates

    12    the registrant, in this case HBC, to inform the

    13    DEA of suspicious orders when they're discovered?

    14          A.     Yes.

    15          Q.     And that's the case whether we're

    16    talking about Schedule II drugs or whether we're

    17    talking about Schedule III drugs; correct?

    18          A.     Correct.

    19          Q.     Do you understand that the pharmacies

    20    are not supposed to receive suspicious orders of

    21    drugs?

    22                 MR. BARNES:     Object to form.

    23                 THE WITNESS:     Can you clarify?       I don't

    24    follow your -- what is your question?

    25

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     1    BY MR. GADDY:

     2          Q.     Does HBC agree that orders are not

     3    supposed to be shipped to the pharmacies until

     4    they have been deemed not suspicious?

     5                 MR. BARNES:     Object to form.

     6          You can answer.

     7                 THE WITNESS:     Again, in our system,

     8    since we have line of sight from the warehouse all

     9    the way out to the dispensing level, our

    10    pharmacists are filling prescriptions pursuant to

    11    legitimate prescriptions, which then generate

    12    orders, and we ship those orders to the

    13    pharmacies.

    14    BY MR. GADDY:

    15          Q.     My question is more about timing of the

    16    shipping.     So we looked at some of these threshold

    17    or we looked at one of these threshold reports.

    18    And the reports indicate on their face that orders

    19    of pills that exceeded the threshold were shipped

    20    to the stores that were in excess of the

    21    threshold.     And you told me that after the reports

    22    are generated, they're looked at, and then some

    23    level of investigation is done; is that correct?

    24          A.     Correct.

    25          Q.     You agree with me that any investigation

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     1    that was being done by Giant Eagle or HBC is

     2    happening after the orders have been shipped;

     3    correct?

     4          A.     Perhaps, yes, perhaps.

     5          Q.     Well, that's what the forms indicate;

     6    correct?

     7          A.     Well, some of them -- obviously looking

     8    at some of these -- you mentioned this report is

     9    on the 31st of the month.         So if you look at some

    10    of these, as I testified earlier, some of these

    11    would have already been cleared and some of them

    12    you could already tell that there would be a false

    13    positive.

    14          So some of them you would have known -- you

    15    would have known that -- you would have cleared

    16    them early is what I'm trying to say knowing that

    17    they were a false positive.

    18          Q.     But by the time the procurement folks

    19    see this report, the pills have already been

    20    shipped; correct?

    21          A.     They may have.      The report -- the report

    22    generates early in the morning.           Stores don't

    23    receive their orders till after they open.              So

    24    they would have been shipped, but not received in

    25    some cases, in transit.

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     1          Q.     Break that down for me.        You state the

     2    reports are generated early in the morning.              What

     3    does that mean?

     4          A.     I'm not sure of the exact time, but

     5    certainly before our pharmacies open for business.

     6          Q.     What time do your pharmacies open for

     7    business?

     8          A.     Some open at 9:00.       Some open at

     9    8:00 generally.

    10          Q.     Let me just ask it this way.          Did HBC or

    11    Giant Eagle have any policy in place that any

    12    orders that popped on the threshold report were

    13    not shipped until they've been cleared?

    14          A.     Not that I could find a policy.

    15          Q.     They're still operating under the

    16    threshold policy today.         Today are these orders

    17    shipped or are they blocked merely because they

    18    come up on the report, or are they shipped and

    19    then the diligence is performed?

    20          A.     So in our experience, having looked at

    21    reports having looked at thresholds, we generated

    22    very few suspicious orders over the timeframe that

    23    we've been operating.        So I guess I'm trying to

    24    understand.

    25          In our environment, we're able to intercept,

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